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12   (Additional counsel listed below signature line)
13
                           UNITED STATES DISTRICT COURT
14
                         SOUTHERN DISTRICT OF CALIFORNIA
15
     IN RE:                            Case No. 3:17-CV-00108-GPC-MDD
16

17   QUALCOMM LITIGATION,              [Consolidated with
18
                                       Case No. 3:17-CV-01010-GPC-MDD]

19                                     APPLE INC. AND THE CONTRACT
                                       MANUFACTURERS’ NOTICE OF INTENT TO
20                                     OPPOSE QUALCOMM’S EX PARTE
21                                     APPLICATION FOR AN ORDER SHORTENING
                                       TIME, ECF. No. 617.
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   1           On September 14, 2018, Qualcomm Incorporated filed an Ex Parte
   2   Application for an Order Shortening Time for Apple and the CMs to respond to
   3   Qualcomm’s Motion for Partial Dismissal of Apple’s First Amended Complaint
   4   and the CMs’ Counterclaims (“Ex Parte Application”), ECF. No. 617. Qualcomm
   5   filed its Ex Parte Application at 10:22 p.m. Pacific time on Friday, in which it asks
   6   this Court to order Apple and the CMs to respond to Qualcomm’s Motion for
   7   Partial Dismissal on September 24, 2018, and the Court to rule on its motion in an
   8   expedited fashion.
   9           Apple and the CMs hereby provide notice that they intend to respond to
  10   Qualcomm’s Ex Parte Application no later than Tuesday, September 18, 2018, and
  11   oppose at least in part Qualcomm’s request for expedited treatment of its Motion
  12   for Partial Dismissal (ECF. No. 616). In their opposition, Apple and the CMs will
  13   propose a modestly accelerated schedule that offers a compromise between
  14   Qualcomm’s hyper-accelerated proposal and the schedule as set by the Local Rules
  15   that will allow the Court and the Parties due time to consider the unique and
  16   complex issues now pending before this Court. There is no urgency in
  17   Qualcomm’s underlying Motion for Partial Dismissal requiring immediate
  18   consideration of Qualcomm’s Ex Parte Application. Nevertheless, Apple and the
  19   CMs will file their response promptly, and no later than Tuesday, September 18,
  20   2018.
  21

  22   Dated: September 17, 2018      Respectfully submitted,
  23
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   1                               FILER’S ATTESTATION
   2         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
   3   Policies and Procedures of the United States District Court of the Southern District
   4   of California, I certify that authorization for the filing of this document has been
   5   obtained from each of the other signatories shown above and that all signatories
   6   have authorized placement of their electronic signature on this document.
   7   Dated: September 17, 2018
   8
                                            /s/ Seth M. Sproul
                                               Seth M. Sproul
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   1
                                CERTIFICATE OF SERVICE
             The undersigned hereby certifies that a true and correct copy of the above
   2
       and foregoing document has been served on September 17, 2018 to all counsel of
   3
       record who are deemed to have consented to electronic service via the Court’s
   4
       CM/ECF system per Civil Local Rule 5.4. Any other counsel of record will be
   5
       served by electronic mail, facsimile and/or overnight delivery.
   6
             Executed on September 17, 2018, at San Diego, California.
   7

   8
                                           /s/ Seth M. Sproul
   9                                          Seth M. Sproul
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